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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE: GENERIC PHARMACEUTICALS                      MDL 2724
PRICING ANTITRUST LITIGATION                        16-MD-2724

                                                    HON. CYNTHIA M. RUFE

THIS DOCUMENT RELATES TO:                           Civil Action No.

1199SEIU National Benefit Fund v. Actavis           19-cv-6011
Holdco U.S., Inc.

César Castillo, Inc. v. Actavis Holdco U.S., Inc.   20-cv-0721

Cigna Corp. v. Actavis Holdco U.S., Inc.            20-cv-2711

County of Albany v. Actavis Holdco U.S., Inc.       21-cv-1875

County of Westchester v. Actavis Holdco U.S.,       21-cv-4474
Inc.

CVS Pharmacy Inc. v. Actavis Elizabeth, LLC         20-cv-6310

Harris County v. Teva Pharm. USA, Inc.              20-cv-2296

Health Care Serv. Corp. v. Actavis Elizabeth,       19-cv-5819
LLC

Humana Inc. v. Actavis Elizabeth, LLC               19-cv-4862

Humana Inc. v. Actavis Elizabeth, LLC               20-cv-6303

J M Smith Corp. v. Actavis Holdco U.S., Inc.        20-cv-4370

Molina Healthcare, Inc. v. Actavis Elizabeth,       20-cv-0695
LLC

MSP Recovery Claims, Series LLC v. Actavis          20-cv-0231
Elizabeth, LLC

Reliable Pharmacy v. Actavis Holdco U.S., Inc.      19-cv-6044

Rite Aid Corp. v. Actavis Holdco U.S., Inc.         20-cv-3367
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